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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 HESAI TECHNOLOGY CO., LTD, et al.,

                                   Plaintiffs,

 v.                                                       Civ. Action No. 1:24-cv-01381-PLF

 U.S. DEPARTMENT OF DEFENSE, et al.,

                                   Defendants.



                                    JOINT STATUS REPORT

       Pursuant to the Court’s October 22, 2024 Order (Dkt. 36), the parties submit the following

joint status report and request entry of the attached scheduling order setting deadlines for filing of

an amended complaint and renewed cross-motions for summary judgment.

       This is an action for review of Defendants’ designation of Hesai Technology Co., Ltd as a

“Chinese military company” pursuant to Section 1260H of the William M. (“Mac”) Thornberry

National Defense Authorization Act for Fiscal Year 2021 (Public Law 116-283). On January 31,

2024, Defendants designated Hesai Technology Co., Ltd as a Chinese military company by

including it on the Department of Defense’s Section 1260H List. Thereafter, Plaintiffs initiated

the instant action. On June 13, 2024, this Court granted the parties’ joint motion for a briefing

schedule, under which cross-motions for summary judgment would be fully briefed by August 30,

2024 (later extended to September 6, see Dkt. 21), and oral argument would take place on

September 24, 2024, see Dkt. 13.

       On September 13, 2024, Defendants filed an opposed motion to postpone oral argument so

the Department could issue a new decision that would render its original Section 1260H listing

inoperative. After this Court’s September 17, 2024 grant of Defendants’ motion, the Department
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then, on October 16, 2024, de-listed and immediately re-listed Hesai Technology Co., Ltd as a

Chinese military company based on a modified record and modified rationale, including certain

factors not originally included in the Department’s initial Section 1260H decision memorandum.

       Given the change in circumstances, the Court ordered the parties to meet, confer, and

submit no later than November 5, 2024, a joint status report addressing: (1) the mootness of the

parties’ currently pending motions for summary judgment given the Department’s new decision

regarding Hesai Technology Co., Ltd’s placement on the Section 1260H List; (2) the need for any

supplemental briefing in the event the motions are not fully mooted; (3) a proposed briefing

schedule; and (4) whether the Court should leave in place the hearing currently scheduled for

November 26, 2024. Dkt. 36. The parties’ positions are as follows:

     1.        The parties’ pending cross-motions for summary judgment are moot. The

parties agree that their currently pending cross-motions for summary judgment are now moot in

light of the Department’s new Section 1260H listing decision, which modifies the basis for listing

Hesai Technology Co., Ltd as a Chinese military company.

     2.        Supplemental briefing on the parties’ pending cross-motions for summary

judgment is unnecessary. Given that the pending motions for summary judgment are moot, the

parties agree that new summary judgment briefing, rather than supplemental briefing, is

appropriate.

     3.        The parties jointly request a schedule for an amended complaint and renewed

cross-motions for summary judgment. In light of the Department’s new Section 1260H listing

decision, the parties agree and jointly request that Plaintiffs be permitted to file an amended

complaint and the parties be permitted to file renewed cross-motions for summary judgment in




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lieu of supplemental briefing.1 The parties therefore jointly move the Court to enter the following

schedule:

                                  Event                                         Deadline

    Defendants’ Certified List of Contents of Administrative Record   November 8, 2024

    Plaintiffs’ Amended Complaint                                     November 15, 2024

    Plaintiffs’ Motion for Summary Judgment                           December 9, 2024

    Defendants’ Cross-Motion for Summary Judgment & Opposition January 8, 2025
    to Plaintiffs’ Motion for Summary Judgment

    Plaintiffs’ Combined Reply & Opposition to Defendants’ Motion January 29, 2025
    for Summary Judgment

    Defendants’ Reply                                                 February 12, 2025

    Plaintiffs’ Submission of the Parties’ Joint Appendix             February 14, 2025

    Hearing on Cross-motions for Summary Judgment                     Any time on or after
                                                                      February 14, 2025, at the
                                                                      Court’s preference.

        4.        The Court Should Reschedule the November 26, 2024 Hearing. In light of the

foregoing proposed schedule, the parties agree that the hearing currently scheduled for November

26, 2024, should be rescheduled to take place on or after February 14, 2025.




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  The Court previously excused Defendants from filing an answer, allowing Defendants’ summary
judgment brief to serve in its place. See Dkt. 13. In the interests of time and conservation of the
parties’ resources, the parties respectfully request that the Court’s scheduling order clarify that
Defendants will not be required to file an answer to the amended complaint in this Administrative
Procedure Act case.

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November 5, 2024                   Respectfully submitted,

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